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FoR THE WESTERN DISTRICT oF TENNESSEE / ix ">' <:_.
EASTERN DIVISION é' ¢~(:F ¢,,, /6»

CARLTON LEE MCALISTER ) “’ /;y § 0/”<’;03)

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) ~ /./
v. ) No; 1-05_1093 T/An
. . _; ? "‘ `i )

CARRoLL CoUNTY GOVERNMENT )
AND JoHN DoE 1-10 )

Defendants )

 

ORDER GRANTING DEFENDANTS’
MOTION FOR AN EXTENSION OF TIME IN WHICH TO FILE A RESPONSIVE PLEADING

 

Defendants have moved the Court to extend their deadline in Whieh to tile a responsive pleading to
June 30, 2005, on the grounds that more time is needed to investigate Plaintift"s allegations and that
Plaintiff will not suffer any prejudice as a result of the extension Plaintit`f does not oppose this extension.
Finding that these reasons are good cause for the extending the Defendants’ deadline in Whieh to file a
responsive pleading, the Coul't hereby GRANTS Defendants’ motion for an extension of time.
Defendants shall tile a responsive pleading no later than June 30, 2005.

IT IS SO OR_DERED.
/_______
/ 6b
Judge J-emes-D.-"Podd

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lee

Thls document entered on the docket Cl;eet ln compliance

with acre 53 and,'or,re (a) FRCP on \ 3 3 05

 

 

UNITSTED`TES DISTRICT C URT WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01093 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

